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                              UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION


IN RE:                                                    :       CASE NO. 19-67578-PWB
                                                          :
SHEENA BLACKWELL YOUNG,                                   :       CHAPTER 7
                                                          :
         Debtor.                                          :
                                                          :

                       APPLICATION TO EMPLOY REAL ESTATE AGENT
                              UNDER LISTING AGREEMENT

         COMES NOW S. Gregory Hays, as Chapter 7 Trustee (“Trustee” or “Applicant”) for the

bankruptcy estate (the “Bankruptcy Estate” or “Estate”) of Sheena Blackwell Young

(“Debtor”), and moves this Court for an Order authorizing him to employ Humphries & King

Realty and John Ball (collectively hereafter referred to as “Humphries & King”) as listing agent

for the Estate (the “Application”), and respectfully shows:

                                         Jurisdiction and Venue

         1.        The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This is a

core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue is proper pursuant to 28 U.S.C. §§ 1408

and 1409(a).

                                            Background Facts

         2.        Debtor filed a voluntary petition for relief under Chapter 13 of Title 11 of the United

States Code on November 4, 2019 (the “Petition Date”), initiating, Case No. 19-67578-PWB (the

“Case”).

         3.        On June 14, 2021, the United States Trustee filed its Notice of Resignation and

Appointment of Chapter 13 Successor Trustee, terminating Mary Ida Townson from the case and

appointing Nancy Whaley as Interim Chapter 13 Trustee (the “Interim Trustee Notice”) [Doc. No.
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47]. On October 1, 2021, the United States Trustee filed its Notice of Appointment of Chapter 13

Standing Trustee, terminating Nancy Whaley as Interim Chapter 13 Trustee and appointing K.

Edward Safir (the “Ch. 13 Trustee”) as Chapter 13 Standing Trustee (the “Standing Trustee

Notice”) [Doc. No. 49]

       4.      On February 15, 2022, the Ch. 13 Trustee filed his motion to convert the Bankruptcy

Case to one under Chapter 7 (the “Motion to Convert”) [Doc. No. 52]. Thereafter, on March 15,

2022, Debtor filed her Modification of Confirmed Ch. 13 Plan (the “Modification”) [Doc. No. 53].

The Modification was approved by the Court’s order entered April 13, 2022 (the “Modification

Order”) [Doc. No. 55]. On May 6, 2022, the Court entered its order denying the Motion to Convert

(the “Conversion Order”) [Doc. No. 58].

       5.      On October 18, 2022, the Ch. 13 Trustee filed his Trustee’s Supplemental Report

Following Motion to Convert to Chapter 7 (the “Supplemental Report”) [Doc. No. 60]

recommending that the case be converted to Chapter 7 due to the Debtor’s default under the terms of

the Conversion Order requiring regular, timely plan payments. Thereafter, on October 21, 2022, the

Court entered its order converting the Bankruptcy Case to Chapter 7 (the “Second Conversion

Order”) [Doc. No. 61].

       6.      The United States Trustee then appointed Trustee to serve as the Chapter 7 trustee in

this Case.

       7.      Trustee is the sole representative of the Estate. 11 U.S.C. § 323(a).

                                           The Property

       8.      Upon Debtor filing her voluntary bankruptcy petition, the Bankruptcy Estate was

formed, and it includes all her legal or equitable interests in property as of the commencement of

the Bankruptcy Case, including the Property, as defined below. See 11 U.S.C. § 541(a)(1).



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        9.      Contemporaneous with the filing of this Case, Debtor filed her schedules of assets

and liabilities (the “Schedules”) [Doc. No. 1].

        10.     According to Schedule A/B, Debtor stated that she had an ownership interest in

3304 Quick Water Landing NW, Kennesaw, Georgia 30144 (the “Property”) and that the value

of the Property was $265,000.00.

              Alleged Liens, Interests and Encumbrances on or against the Property

        11.     On her Schedule D, Debtor scheduled two secured claims in or against the Property

with a total balances of approximately $189,000.00.

        12.     Relatedly, three creditors have filed claims in this case [Claim Nos. 1-3, and 10-1, and

17-1] claiming secured claims or interests in the Property with total balances of approximately

$210,000.00.

        13.     Based on the Trustee’s independent investigation of value and a real estate broker’s

inspection, evaluation, and comparative marketing analysis of the value of the Property, Trustee has

determined that the value of the Property would support a listing price of $405,000.00. Based on the

value of the Property, there is sufficient equity to benefit the Estate and for Trustee to make a

meaningful distribution if he were to sell it after paying all liens against the Property in full and all

available exemptions in the Property.

                               Request Authority to Employ Realtor

        14.     Trustee requests authority from the Court to employ Humphries & King as his listing

agent in the proposed sale of the Property under a listing agreement (the “Listing Agreement”) at a

listing price of $405,000.00, which may be extended if necessary, with a six (6%) percent commission

of the selling price. The Listing Agreement is attached hereto, marked as Exhibit “A” and

incorporated herein by reference.



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        15.     Any contract for sale of the Property will be subject to Bankruptcy Court approval

following the filing of a motion pursuant to 11 U.S.C. § 363.

        16.     The affidavit of John Ball regarding the matters set out in this Application is attached

hereto as Exhibit "B" and incorporated herein by reference.

        17.     Humphries & King does not represent any interest adverse to the Estate and is a

disinterested person as that term is defined in 11 U.S.C. §101(14). Humphries & King has no current

relationship with Trustee or Debtor.

        18.     The employment of Humphries & King as the listing agent to sell the Property

pursuant to the terms of the Listing Agreement is in the best interest of the Estate.

        WHEREFORE, Trustee prays that this Court grant (a) authority to employ Humphries & King

as his listing agent to sell the Property pursuant to the Listing Agreement; and (b) such other and

further relief as is just and proper.

        Respectfully submitted this 18th day of April, 2023.

                                                 ROUNTREE LEITMAN KLEIN & GEER, LLC
                                                 Attorneys for Trustee


                                                 By:      /s/ Michael J. Bargar
                                                       Michael J. Bargar
Century Plaza I                                        Georgia Bar No. 645709
2987 Clairmont Road, Suite 350                         mbargar@rlkglaw.com
Atlanta, Georgia 30329
404-410-1220




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                                     CERTIFICATE OF SERVICE

       This is to certify that I have this day electronically filed the foregoing Application to

Employ Real Estate Agent under Listing Agreement using the Bankruptcy Court’s Electronic Case

Filing program, which sends a notice of this document and an accompanying link to this document

to the following parties who have appeared in this case under the Bankruptcy Court’s Electronic

Case Filing program:


Thomas E. Austin                                       A. Michelle Hart Ippoliti
taustin@taustinlaw.com                                 Michelle.ippoliti@mccalla.com
klyons@taustinlaw.com                                  bankruptcyecfmail@mccalla.com
                                                       mccallaecf@ecf.courtdrive.com
Heather D. Bock
bankruptcyecfmail@mccalla.com                          Daniel E. Melchi
BankruptcyECFMail@mrpllc.com                           dmelchi@luederlaw.com
mccallaecf@ecf.courtdrive.com
                                                       William Read Pope
E. L. Clark                                            read.pope@popelawllc.com
cwatlantabk@gmail.com
                                                       Ryan Starks
S. Gregory Hays                                        ryan.starks@brockandscott.com
ghays@haysconsulting.net                               wbecf@brockandscott.com
saskue@haysconsulting.net
GA32@ecfcbis.com

       This is to further certify that I have this day served the Application to Employ Real Estate

Agent under Listing Agreement by first class, United States mail, with postage prepaid fully

thereon, to the following parties:

Sheena Blackwell Young
3304 Quick Water Landing NW
Kennesaw, GA 30144

       This 18th day of April, 2023.

                                        By: /s/ Michael J. Bargar
                                           Michael J. Bargar
                                           Ga. Bar No. 645709
